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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                                IN THE UNITED STATES DISTRICT COURT
 7
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-06-0441 GEB
                                                      )
10
                                                      )
            Plaintiff,                                )       STIPULATION AND
11
                                                      )       ORDER CONTINUING
     v.                                               )       STATUS CONFERENCE
12
                                                      )
     WENDALL STEWART, et al,                          )
13
                                                      )
                                                      )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendants.                               )
                                                      )
15
                                                      )
                                                      )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., counsel for defendant Wendell Stewart, Candace A.
20
     Fry, Esq., counsel for defendant Valerie White, William E. Bonham, Esq., and counsel for
21
     defendant Isauro Jauregui Catalan, Edward C. Bell, Esq., that the status conference presently set
22
     for February 4, 2011 be continued to March 18, 2011, at 9:00 a.m., thus vacating the presently
23
     set status conference.
24
            Counsel for the parties agree that this is an appropriate exclusion of time within the
25
     meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable
26
     time for effective preparation, specifically the continuance is requested to allow more time for
27
     defense preparation and possible negotiations for resolution) and Local Code T4, and agree to
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     exclude time from the date of the filing of the order until the date of the status conference,


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 1   March 18, 2011.
 2   IT IS SO STIPULATED.
 3
     Dated: February 2, 2011                          /s/ John R. Manning
 4                                                   JOHN R. MANNING
                                                     Attorney for Defendant
 5                                                   Ricardo Venegas
 6
     Dated: February 2, 2011                         /s/ Candace A. Fry
 7                                                   CANDACE A. FRY
                                                     Attorney for Defendant
 8                                                   Wendell Stewart
 9
     Dated: February 2, 2011                         /s/ William E. Bonham
10                                                   WILLIAM E. BONHAM
                                                     Attorney for Defendant
11                                                   Valerie White
12
     Dated: February 2, 2011                          /s/ Edward C. Bell
13                                                   EDWARD C. BELL
                                                     Attorney for Defendant
14
                                                     Isauro Jauregui Catalan
15

16   Dated: February 2, 2011                         Benjamin B. Wagner
                                                     United States Attorney
17

18                                             by:   /s/ Jill M. Thomas
                                                     JILL M. THOMAS
19                                                   Assistant U.S. Attorney
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                            Case 2:06-cr-00441-DAD Document 356 Filed 02/04/11 Page 3 of 3


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                                           IN THE UNITED STATES DISTRICT COURT
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                                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                                ) No. CR-S-06-0441 GEB
                                                              )
10
                                                              )
                           Plaintiff,                         ) ORDER TO
11
                                                              ) CONTINUE STATUS CONFERNCE
     v.                                                       )
12
                                                              )
     WENDALL STEWART, et al.,                                 )
13
                                                              )
                                                              )
14                         Defendants.                        )
                                                              )
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                                                              )
                                                              )
16

17

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                           GOOD CAUSE APPEARING, it is hereby ordered that the February 4, 2011 status
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     conference be continued to March 18, 2011 at 9:00 a.m. I find that the ends of justice warrant an
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     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
21
     effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
22
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
23
     Local Code T4 from the date of this order to March 18, 2011.
24
     IT IS SO ORDERED.
25
     Date: 2/3/2011
26
                                                                   _________________________
27                                                                 GARLAND E. BURRELL, JR.
28   DEAC_Signature-END:
                                                                   United States District Judge



                                                               3
